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                        UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO




 AMANDA J. WHITE,
                                               Case No. 1:16-cv-00169-CWD
                     Plaintiff,
                                               JUDGMENT
 v.

 ADVANCED CALL CENTER
 TECHNOLOGIES, LLC,

                     Defendant.



       The parties having filed a Stipulation of Dismissal, and good cause appearing

therefor, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

Stipulation of Dismissal (Dkt. 27) is APPROVED, and that this case is DISMISSED

WITH PREJUDICE and with each party to bear its own attorney fees and costs.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED, that the Clerk

close this case.



                                                DATED: January 11, 2017


                                                _________________________
                                                Honorable Candy W. Dale
                                                United States Magistrate Judge



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